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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF CONNECTICUT                                         ,.
SHERI SPEER

vs
                                                    C.A. NO   i.9 :,~vaoos:            c]L.t-
                                                                    Unit~d States District Court
                                                                      District of Connectlcut
NORWICH PUBLIC UTILITIES
                                                                      FILED AT    HARTFORD
LLOYD LANGHAMMER and
DONNA SKAATS                                                        -"6;:;j:~ns-~23
                                                                                 ~~:---=--- 2ot9
                                      COMPLAINT

       The Plaintiff, Sheri Speer, complains to the best of her knowledge and belief,

as follows:

                               I. Jurisdictional and Venue Allegations



              1. The Plaintiff is a resident of Norwich, Connecticut, and by virtue of the

                 same, has been forced to transact business with Norwich Public Utilities.

              2. Defendant Norwich Public Utilities is a municipal utility corporation

                 authorized and organized under the laws and charter of the City of

                 Norwich. Defendants Lloyd Langhammer and Donna Skaats were and

                 are, at all times alleged herein, affiliated with Norwich Public Utilities as

                 counsel and acting in conspiracy and concert with the same.

              3. The Plaintiff brings this action under the Americans with Disabilities Act

                 42 USC ch. 126 §12101 et seq, as well as 42 USC §1983 and 42 USC

                 § 1985. This Court has jurisdiction because the action involves federal

                 questions, which it may entertain pursuant to 28 USC §§1331 and
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        1343(a). This Court also has supplemental jurisdiction to hear the State

        Law claims concurrently pursuant to 28 USC §1367.

     4. The facts herein were not entirely known and sufficiently discovered to

        have brought this action until the few preceding months in which it was

        filed.

                      II. General Allegations

     5. The Plaintiff was, at all times relevant herein, suffering from "disability"

        as defined by 42 U.S. Code§ 12102 that prevented and impaired her

        from caring for oneself, performing manual tasks, seeing, hearing,

        eating, sleeping, walking, standing, lifting, bending, speaking, breathing,

        learning, reading, concentrating, thinking, communicating and working,

        and otherwise substantially impaired those major life functions. The

        Plaintiff was "being regarded as having such an impairment" for the

        purposes of §12102 for a period greater than six months, beginning on

        or about January of 2015, with the Plaintiff being certified as such by a

        healthca re provider, upon inquiry of the Defendants on December 16,

        2015 and other occasions to have a "serious illness".

     6. At all times relevant herein, the Plaintiff suffered from Major Depression,

         General Anxiety and Post Traumatic Stress Disorder. Additionally, she

         was the victim of several domestic assaults from late 2015 into 2016

         (one of which involved substantial brain and facial trauma, another
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        involved a severe burn which took two years to heal and another

        involved being thrown into a flight of concrete steps after being kicked in

        the gut), she fell out of a moving vehicle January 1, 2017 (to escape

        kidnapping, which resulted in an audible cracking of the Plaintiff's skull,

        the skull stopping the fall), suffered a back injury January 13, 2016, and

        was severely injured from two car accidents (one in March 2016 and the

        other in 2015, the first car accident resulting in pelvic misalignment and

        ligament damage, which causes chronic pain) that required MRls,

        extensive physical therapy and other treatments. The assaults (including

        one incident where the Plaintiff was physically suffocated in the seat of a

        truck) and car accidents have resulted in permanent nerve damage. The

        cumulative effect of this trauma has resulted in migraine strength

        headaches that impair mobility, permanent weakening of the Plaintiff's

        left arm, an enlarged bursa, chronic pain from a damaged rotator cuff,

        and disrupted sleep (inability to sleep longer than three hours as a time).

     7. The Plaintiff sought reasonable accommodations from Norwich Public

        Utilities for her serious illness and medical conditions numerous times,

        which were ignored to the extent they were not referred to Defendant

        Langhammer, who in turn, on Norwich Public Utilities' behalf, failed to

        make them or cause them to be made. The result of this denial of

        reasonable accommodations was that the Plaintiff's water, electricity and
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           sewer services were terminated on or about April of 2015 to well into

           2017.

       8. At all times herein, Defendants Langhammer and Skaats were also hired

           and retained by Seaport Capital Partners, LLC, which has been in

           numerous litigation disputes with the Plaintiff since 2011. Langhammer

           and Skaats, with the full authority and sanction of Norwich Public

           Utilities, used its resources, manpower, access to information and

           authority to engage in the acts complained of against the Plaintiff in order

           to damage her in every way possible in order to benefit Seaport Capital

           Partners, LLC, or alternatively, weaken the Plaintiff through the sheer

           volume of physical injury, malignment and property damage they

           effectuated so that Seaport Capital Partners, LLC could more easily

           prevail over a greatly weakened and physically disabled opponent.

                         Ill. Specific Counts

COUNT ONE - 42 USC §12132, WILFUL DISCRIMINATION AGAINST THE
PLAINTIFF FOR HAVING A DISABILITY UNDER THE AMERICANS WITH
DISABILITIES ACT


        9. At all times herein, the Defendants knew of the Plaintiff's disabilities,

           which lasted from 2015 onward. They purposely excluded the Plaintiff

           from reasonable accomodations knowing that doing so would inflict

           damage on her person, her home and on any prospect she would have

           to do business, live or participate in society.
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     10. Among the ways in which the Defendants discriminated against the

         Plaintiff included power shut offs without notice; disabling Norwich Public

         Utilities' Internet payment functions as to the Plaintiff's accounts (making

         it so she could not pay her bill remotely); theft or conversion of her

         security deposits; including bills that were not the Plaintiff's or in her

         name onto the personal account of her own home at 151 Talman Street;

         acquisition of personal and sensitive medical records for public

         dissemination and use by Seaport Capital Partners, LLC; and selective

         foreclosure of properties that belonged to the Plaintiff while failing to

         foreclose on properties owned or controlled by Seaport Capital Partners,

         LLC that had past due water/sewer/electricity balances.

     11 .The Defendants not only knew of the Plaintiff's debilitating medical

         conditions - they outright capitalized on them in a malicious scheme to

         inflict harm and damage. Termination of utility services reduced the

         Plaintiff's home to a state of squalor, which included rodent infestation

         and frozen pipes.

      12. In order to survive, the Plaintiff had to purchase a generator for indoor

         use, the fumes of which aggravated her already serious illnesses. The

         Plaintiff, while suffering from the severe illnesses and injuries the

         Defendants maliciously capitalized on in order to break her will and even

         her physical person, could not bathe in her own home, which regularly
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        had temperatures below freezing in the winter, and had only one light to

        illuminate it. The Plaintiff, who was suffering immeasurably from physical

        trauma, depression and suicidal thoughts - of which the Defendants full

        well knew - was forced to obtain the services of a plumber to create a

        functional water system involving an electric pump and a cistern to catch

        rainwater. The only real lifeline was a garden hose from the Plaintiff's

        mother's home and water transported to her own home.

     13. The Defendants' malicious scheme to malign and purposely mistreat the

        Plaintiff caused thousands of dollars in damage to the Plaintiff's

        electronics and applicances. It also resulted in substantial black mold

        damage to the basement of the Plaintiff's home, which impaired the air

        quality throughout the Plaintiff's home.

     14. Not only did the Defendants knowingly, recklessly and wilfully treat the

        Plaintiff differently than others with disabilities who were similarly situated

        - they did so in order to obtain sensitive medical information that they

        then shared with Seaport Capital Partners, LLC for its full use,

        enjoyment, benefit, publication and amusement.

     15. The Plaintiff is entitled to enforcement of her rights and other remedies

        under 42 USC § 12133 as a consequence of the Defendants' wilful and

        reckless violation of the Americans with Disabilities Act.
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COUNT TWO: 42 USC §1983, FOR DEPRIVATION OF RIGHTS UNDER COLOR OF
LAW
       16. The Defendants, at all times herein, were government actors as Norwich

          Public Utilities was a municipal entity, and in that Defendants

          Langhammer and Skaats were in their employ, and at all times herein

          acting as their agents.

       17. None of the Defendants' actions as complained of had any rational or

          legitimate government purpose, and in fact were engaged in for the

          purposes of thwarting the Plaintiff's rights and the policy set forth in the

          Americans with Disabilities Act as set forth in 42 USC § 12101.

       18. The Defendants, with Norwich Public Utilities giving the conduct

          complained of full sanction and acceptance, singled the Plaintiff out for

          the disparate treatment complained of, and would never treat anyone

          with severe illness lasting more than six months in the manner they have

          treated the Plaintiff, especially for the purposes of harming the Plaintiff

          and otherwise treating her differently because Seaport Capital Partners,

          LLC asked its attorneys to ask, Norwich Public Utilities to do so.

          Moreover, Norwich Public Utilities has purposely demanded that the

          Plaintiff even pay the utility bills currently due and acruing for properties

          that Seaport Capital Partners, LLC took from the Plaintiff for utility

          services used by Seaport Capital Partners, LLC and its tenants -

          property which Defendant Langhammer refused to bring foreclosure
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         proceedings to take on behalf of Norwich Public Utilities.

     19. The Defendants, conspiring with Seaport Capital Partners, LLC in

         furtherance of its fraudulently concocted involuntary bankrupty styled In

         Re Speer, 14-21007, did not account for over $5,000 in deposits given to

         Norwich Public Utilities since 2005, nor did they report their existence or

         the accounting thereof to either the Trustee or the Plaintiff.

     20. The Defendants, maliciously and in bad faith, also fed the Plaintiff's

         medical information that they fraudulently obtained from her by release

         to Patrick W Boatman, counsel for Seaport Capital Partners, LLC, for

         their collective and personal use.

     21. The Defendants decided, as official policy of Norwich Public Utilities, that

         Seaport Capital Partners, LLC be aided, abbetted, helped and assisted

         in such ways in order to profit and enrich it, give it treatment more

         faborably than that of the Plaintiff and to otherwise harm and punish the

         Plaintiff for ever having mounted a defense to Seaport Capital Partners,

         LLC's fraudulently created loans to her.

     22. The official policy, conduct, custom and sanction of the Defendants, as

         government actors, was to render the Plaintiff mentally unable to mount

         of own defense to the Defendants' ruthless abuse of process in In Re

         Speer, 14-21007.

      23. All of the above denied the Plaintiff equal treatment under the law, in
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           violation of the Fourteenth Amendment of the Constitution of the United

           States, specifically, the Plaintiff's right to equal treatment under the law.

COUNT THREE: 42 USC §1985(3): CONSPIRACY TO DEPRIVE THE PLAINTIFF OF
HER CIVIL RIGHTS


        24. The Defendants acted together and seperately in order to deprive the

           Plaintiff of her rights under the Americans with Disabilities Act and to

           otherwise cause a public entity, as officers and agents of that entity, to

           treat her unequally under the law for the benefit of Seaport Capital

           Partners, LLC.

        25. The Plaintiff, the party so injured or deprived, may have an action for the

           recovery of damages occasioned by such injuries and deprivations

           complained of herein, against any one or more of the conspirator

           Defendants.


COUNT FOUR: INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

        26. In engaging in the conduct complained of, the Defendants knew and

           foreseeably intended that it would result in emotional distress as a result

           of the Plaintiff's serious illness and disabilities, which they became aware

           of on or about October of 2015.

        27. The Defendants' conduct was extreme and outrageous, including the

           intentional dissemination of the Plaintiff's medical records with Seaport

           and others, which did not have a medical release or permission to obtain
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             said records.

          28. The Defendants' conduct proximately caused emotional distress,

             including suidical thoughts and weight gain.

          29. The emotional distress suffered at the hands of the Defendants was

             barbaric, and was calculated to result in physical harm, and did in fact

             result in physical harm. These physical manifestations of harm have

             arisen in the form of sudden weight gain (in 2016, of over 60 pounds

              requiring medication), sleep loss, interrupted sleep (nightmares),

              shortness of breath, sensitivity to loud noises, loss of concentration, light

              headedness and loss of consciousness.




The Plaintiff therefore seeks:

      A. Remedies and damages under 42 USC §12133

       8. Damages and lnunctive Relief Under 42 USC § 1983

      C. Damages

       D. Punitive Damages

       E. Costs

       F. Any further relief the Court sees proper
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THE PLAINTIFF,
SHERI SPEER



Sheri Speer \
151 Talman Stl'ee
